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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 SOUTHEASTERN PENNSYLVANIA
 TRANSPORTATION AUTHORITY,
 1234 Market Street
 Philadelphia, PA 19107,                               CIVIL ACTION NO._____________

                                     Plaintiff,        JURY TRIAL DEMANDED
        v.

 DRUMMOND DECATUR AND STATE
 PROPERTIES, LLC,
 8228 Abingdon Road
 Kew Gardens, NY 11415,

                                   Defendant.



                                   VERIFIED COMPLAINT

       Plaintiff Southeastern Pennsylvania Transportation Authority (“SEPTA” or “Plaintiff”), by

its undersigned counsel, files this Complaint against Defendant Drummond Decatur and State

Properties, LLC (“Drummond” or “Defendant”) and, in support thereof, avers as follows:

                                       INTRODUCTION

       1.      SEPTA comes to Court seeking damages for Drummond’s failure to do simply that

which would be required of any commercial landlord: fix the dangerous conditions plaguing the

building SEPTA leases from Drummond (the “Building”) that disrupt SEPTA’s internal operations

and threaten to cripple Philadelphia’s complex infrastructure.

       2.      This situation is even worse because Drummond made a series of material

misrepresentations, omissions, and took other purposeful and deceitful acts that were intended to,

and ultimately did, fraudulently induce SEPTA into entering a commercial lease. Specifically,

knowing full well that SEPTA was looking for a central location to store its critical parts and
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components on the one hand and utilize the Building’s office space for operations on the other,

Drummond attempted to conceal and then lied about, among other things, unconscionable

plumbing issues and structural defects. These are the conditions that it now refuses to remedy.

       3.      Drummond also failed to disclose that the Building had severe environmental

contamination, which now risks people’s health and safety.

       4.      Specifically, during lease negotiations, Drummond attempted to conceal from

SEPTA serious flooding problems in the Building. On the day SEPTA representatives were

scheduled to view the Building for inspection, major flooding was occurring. Drummond, giving

no reason, attempted to cancel the visit but SEPTA representatives were already on their way to

the Building. When SEPTA representatives arrived and witnessed this flooding, Drummond told

them the water was simply from its employees hosing down a wall that had to be removed to open

up the warehouse and would be remedied soon. This was a blatant lie.

       5.       The flooding was in fact not due to hosing down a wall as part of demolition

cleanup but instead was—and still is—caused by serious foundational and structural defects in

plumbing and piping throughout the Building. Further, Drummond, knowing SEPTA was coming

to inspect the building, failed to have its then tenant remove its sea of boxes and crates of materials

on the grounds to conceal the floor and prevent reasonable inspection by SEPTA at its visit in May

2019 and preventing SEPTA personnel from truly assessing the condition of the Building.

       6.      Relying on Drummond’s misrepresentation that the water was due to issues with

the demolition cleanup that would be quickly remedied by Drummond, SEPTA entered into the

lease, which expressly required Drummond to perform a series of repairs (some of which

Drummond has not even attempted or has done so ineffectively, in breach of the lease).




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       7.      Had SEPTA known about the true cause of the flooding—the systemic structural

failures permeating the Building—it would not have entered into the lease and chosen the Building

as the place to store its critical equipment and operations.

       8.      The effect of Drummond’s deception is cataclysmic to both SEPTA and the City of

Philadelphia: with each rain, the Building floods—literally water surging above from the roof

drainage pipes and bubbling from the ground—endangering SEPTA employees, damaging critical

infrastructure and debilitating company operations. In addition, the Building’s office space has

been rendered unusable and dangerous, the odors are repugnant, the bathrooms are dysfunctional,

and the environmental conditions are unsanitary and deplorable. Every time the sewer backs up

due to rainfall, fecal matter enters the warehouse floors creating serious health and safety hazards

and immeasurable risk to SEPTA.

       9.      Because the Building is mission critical for SEPTA’s operations, and the condition

of the Building is so dangerous, SEPTA needs this Court’s immediate attention, especially

considering the City of Philadelphia is now emerging from the COVID-19 pandemic with multiple

millions of residents commuting on SEPTA transportation daily.

       10.     Defendant’s actions—and inactions—constitute violations of the lease between

SEPTA and Defendant as well as intentional fraud.

       11.     As a result of Defendant’s unlawful conduct, SEPTA has been damaged and now

operations of its entire 5-county transit system have been placed at risk.

       12.     Millions of SEPTA’s users who rely on SEPTA for going to and from work will be

disrupted should the damage progress to a point where SEPTA’s operations become compromised.

       13.     SEPTA comes to Court seeking damages to redress Defendant’s misconduct and

ensure SEPTA’s operations can continue uninterrupted and serve the general public.



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                                           THE PARTIES

        14.      SEPTA is a regional transit authority created by the Commonwealth of

Pennsylvania with an address of 1234 Market Street, Philadelphia, PA 19107. For purposes of

diversity of citizenship, SEPTA is a citizen of the Commonwealth of Pennsylvania.

        15.      Defendant Drummond Decatur and State Properties, LLC is a Delaware limited

liability company with an address of 8228 Abingdon Road, Kew Gardens, NY 11415. For

purposes of diversity of citizenship, Drummond is a citizen of the state of New York.

                                   JURISDICTION AND VENUE

        16.      This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. § 1332 because the dispute is between diverse citizens and the amount in controversy

exceeds $75,000.00.

        17.      Venue is appropriate in this District pursuant to 28 U.S.C. § 1391 because

Defendant regularly conducts business in this District, the actions giving rise to these claims

occurred in this District, and the real property which is the subject of this litigation is located in

this District.


                               FACTS COMMON TO ALL COUNTS

        18.      SEPTA is a regional public transportation authority that operates bus, rapid transit,

commuter rail, light rail, and electric trolleybus services for nearly four million people in five

counties in and around Philadelphia, Pennsylvania.

        19.      As part of its operations, SEPTA uses multiple materials and equipment such as

engines and other mechanical parts for the modes of transportation for the entire fleet.




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        20.     SEPTA previously rented a warehouse space in Northeast Philadelphia to store its

materials. That lease expired on December 31, 2019. Therefore, before that lease’s expiration,

SEPTA began looking for other properties to store its equipment and materials.

        21.     SEPTA began considering Drummond’s warehouse of approximately 135,336

square feet and located at 10551 Decatur Road, Philadelphia, PA 19154 (the “Building”) for

purposes of storing its wide variety of critical parts, components and accessories necessary for,

and integral to, SEPTA’s transit operations.

        22.     On or about November 12, 2019, SEPTA and Drummond entered into a

commercial Lease Agreement (the “Lease”) for the Building. A copy of the Lease is attached

hereto as Exhibit 1.

        23.     Prior to and/or simultaneously with entering into the Lease, Drummond represented

that the Building was free from defects and other issues which would or could impede SEPTA’s

use of the Building to facilitate its transit operations.

        24.     Before signing the Lease, in or about May 2019, SEPTA personnel were scheduled

to inspect the Building. On the day of the inspection, Drummond attempted to cancel the inspection

but provided no reason. Because SEPTA personnel were already on their way to the Building,

SEPTA told Drummond the inspection could not be cancelled and would proceed.

        25.     When SEPTA arrived for the inspection, SEPTA noticed substantial flooding on

the grounds of the Building. Drummond assured SEPTA that the flooding was due to its employees

hosing down a wall that had to be removed to open up the warehouse. Drummond represented that

once the demolition cleanup was completed, the flooding would be resolved.

        26.     Contrary to Drummond’s assertions, the flooding was—and continues to be—in

reality caused by significant structural and sub-surface piping and plumbing issues including but



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not limited to: flooding of the interior of the warehouse, office space, and common areas; leaking

downspouts and drainage pipes; and damaged sewer lines which result in the overflow of toilets

and restroom drains which spill out into the office space and common areas and contaminate the

Building. The present conditions of the Building are reflected in the images below:




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       27.     Drummond was aware of these structural and plumbing issues and took affirmative

steps to both lie about and conceal these defects, including intentionally and falsely representing

the source of the flooding observed at the May 2019 inspection.

       28.     Apart from lying to SEPTA, Drummond’s efforts to conceal the known defects and

their true cause included Drummond intentionally failing to have its tenant remove its tons of

materials and equipment laid over the floors during the May 2019 inspection. A picture taken by

SEPTA personnel at the May 2019 inspection is below:




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       29.    The water that SEPTA did view in May 2019, even through the obstructions, was

represented by Drummond as caused by hosing as part of demolition cleanup. A picture taken by

SEPTA personnel at the May 2019 inspection is below:




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       30.     Drummond also skimmed the floors with concrete to cover cracks and leaks in the

floor, in furtherance of its goal of convincing SEPTA that any water was due to the demolition

cleanup and not other structural problems.

       31.     Drummond also used patchwork on the walls to conceal water damage.

       32.     Drummond’s efforts were done with the intent to prevent reasonable inspection of

the Building and actively conceal the structural plumbing and piping issues that were the true cause

of the flooding and sewage backup in the Building.

       33.     Drummond further lied to SEPTA in representing that the Building contained no

environmental hazards.

       34.     SEPTA has now discovered that the Building contains heavy metals and asbestos,

which Drummond knew existed at all relevant times. Further, as a result of the sewage back up

following rainfall, fecal matter enters the warehouse floors creating serious health and safety

hazards.

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       35.    After the Lease was executed, SEPTA viewed Drummond’s workers—who were

unskilled and unqualified—in hazardous material suits when they performed roof repairs provided

for under the Lease and saw the workers scrubbing and washing the walls and rafters.

       36.    SEPTA, surprised and concerned by this conduct, brought in its own environmental

inspectors to the Building who discovered the dangerous environmental conditions including

presence of asbestos and heavy metals.

       37.    The Building also contains occupational hazards as the conditions have led to mold

growth in the areas where SEPTA personnel work.

       38.    The Building further contains electrical hazards as a result of Drummond’s faulty

work done under the Lease.




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       39.     Drummond also represented to SEPTA before executing the Lease that the

Building’s floors were strong and in good condition, which was false as the floors are in terrible

condition and are unsuitable for SEPTA’s uses.

       40.     Drummond knew of all these defects and unreasonably dangerous conditions and

actively lied about and/or concealed such conditions from SEPTA. Drummond lulled SEPTA into

a false sense of security by lying about the cause of the flooding and promising to make certain

repairs under the Lease, knowing full well the Building’s dire conditions were and continue to be

caused by structural plumbing and piping problems.

       41.     The Lease provided for Drummond to make repairs to the roof, as well as make

additional repairs. See Ex. 1, Lease, Exhibit B “Landlord’s Work.”

       42.     Even the work Drummond promised to perform under the Lease was not done, or

was done so poorly that it actually contributes to the problems at the Building.

       43.     Conditions at the Building continue to worsen with each passing rainstorm.

Continued flooding and sewage backup pose immeasurable harm to SEPTA’s employees, as well

as its equipment and supplies, including vital mechanical replacement and vehicle overall parts for

the entire transportation fleet, supply chain material for vehicle fleet management, personal

protective equipment, and other various office and building supplies.

       44.     The Building houses $100 million in inventory and distributes to twenty-one

satellite storerooms located over the SEPTA region.

       45.     The conditions impede SEPTA’s operations, including by: disrupting inbound and

outbound flow of materials used to repair and maintain the transportation fleet; displacing

administrative staff; diverting critical employee resources and expenses to cleanup and relocation




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of materials; and moving materials within the Building as a result of certain areas not being capable

to support heavy equipment.

         46.   SEPTA’s operations and employee wellbeing continue to be threatened by

Drummond’s failure to remedy these problems and failure to accept responsibility for the problems

it purposely kept hidden from SEPTA.

                   COUNT I – INTENTIONAL MISREPRESENTATION
                           (FRAUDULENT INDUCEMENT)

         47.   Prior to entering into the Lease with SEPTA, Defendant or its agent intentionally

and falsely misrepresented the condition of the Building.

         48.   As an example, Defendant intentionally and falsely stated that the flooding that

SEPTA observed when inspecting the premises was the result of hosing down a wall that had to

be removed as part of demolition cleanup, which therefore would be remedied and dried up

quickly.

         49.   This representation was false because the flooding in the Building was common,

does not “dry up” quickly, and was caused not by a one-time demolition cleanup but rather

concealed defects and other plumbing, drainage/sewage, and structural issues at the Building,

known to Defendant at the time it made its false representation. Therefore, Defendant’s

representation that the flooding was caused by demolition cleanup was intentionally false.

         50.   These representations made by Defendant were material to SEPTA in executing the

Lease.

         51.   Defendant or its agent knew that such representations were false, and intended to

mislead SEPTA by making the false representations to induce SEPTA to execute the Lease.

         52.   SEPTA relied on Defendant’s assertions regarding same and entered into the Lease

as a result of Defendant’s prior statements.

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       53.     Had SEPTA known of the true cause of the flooding or the full nature of the

concealed defects and other plumbing, drainage/sewage, and structural issues at the Building, it

would not have entered into the Lease with Defendant.

       54.     As a result of Defendant’s fraudulent and intentional misrepresentations, SEPTA

entered into a Lease which it would not have otherwise agreed to, and has since suffered damages

including, but not limited to, destruction, damage, and loss of materials and supplies needed to

carry out integral transit operations; costs associated with remediation, emergency repairs,

employee displacement, diversion of resources; and other harm.

       WHEREFORE, Plaintiff respectfully requests judgment in its favor against Defendant

for: (1) actual damages that Plaintiff is entitled to recover as a result of Defendant’s fraudulent

misconduct; (2) incidental and consequential damages as permitted by law; (3) interest; (4)

punitive damages; (5) Plaintiff’s attorneys’ fees and costs; and (6) all such other further relief as

the Court may deem just and equitable.

          COUNT II – INTENTIONAL MISREPRESENTATION BY OMISSION
                         (FRAUDULENT INDUCEMENT)

       55.     Plaintiff incorporates each of the foregoing paragraphs herein as if set forth in full.

       56.     Prior to entering into the Lease with SEPTA, Defendant intentionally

misrepresented the condition of the Building, including, but not limited to, failing to disclose

known structural and plumbing issues, drainage/sewage issues, and other structural defects which

did or could cause dangerous conditions at the Building.

       57.     Defendant also intentionally concealed known environmental hazards at the

Building which did or could cause dangerous conditions at the Building, including the presence of

asbestos and heavy metals at the Building.




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       58.     Defendant had an affirmative duty to disclose known defects that create dangerous

conditions.

       59.     Defendant’s omissions and failure to disclose known defects that create dangerous

conditions were material to SEPTA in executing the Lease.

       60.     Defendant or its agent knew of plumbing issues, drainage/sewage issues, structural

defects, and other dangerous conditions that existed at the Building, and intended to mislead

SEPTA by failing to disclose them and induce SEPTA to execute the Lease.

       61.     SEPTA relied on Defendant’s omissions regarding same and entered into the Lease

as a result of Defendant’s failure to disclose known defects at the Building.

       62.     Had SEPTA known of the concealed defects and other plumbing, drainage/sewage,

and structural issues at the Building or the concealed environmental hazards, it would not have

entered into the Lease with Defendant.

       63.     As a result of Defendant’s fraudulent conduct, SEPTA entered into a Lease which

it would not have otherwise agreed to, and has since suffered damages including, but not limited

to, destruction, damage, and loss of materials and supplies needed to carry out integral transit

operations; costs associated with remediation, emergency repairs, employee displacement,

diversion of resources; and other harm.

       WHEREFORE, Plaintiff respectfully requests judgment in its favor against Defendant

for: (1) actual damages that Plaintiff is entitled to recover as a result of Defendant’s fraudulent

misconduct; (2) incidental and consequential damages as permitted by law; (3) interest; (4)

punitive damages; (5) Plaintiff’s attorneys’ fees and costs; and (6) all such other further relief as

the Court may deem just and equitable.




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                   COUNT III – NEGLIGENT MISREPRESENTATION

       64.     Plaintiff incorporates each of the foregoing paragraphs herein as if set forth in full.

       65.     Prior to entering into the Lease with SEPTA, Defendant misrepresented the

condition of the Building, including, but not limited to, representing that the flooding observed by

SEPTA during its inspection was caused by hosing done as part of demolition cleanup, where in

fact the flooding was caused by the deplorable plumbing, drainage/sewage, and structural issues

at the Building.

       66.     Defendant also misrepresented that no environmental hazards existed at the

Building, where in fact the Building contained asbestos and heavy metals at the Building.

       67.     These misrepresentations were material to SEPTA in executing the Lease.

       68.     Defendant knew or should have known that these misrepresentations were false.

       69.     Defendant or its agent made these misrepresentations with the intent to induce

SEPTA to execute the Lease.

       70.     SEPTA relied on Defendant’s misrepresentations and entered into the Lease as a

result of Defendant’s misrepresentations.

       71.     Had SEPTA known of plumbing, drainage/sewage, and structural issues at the

Building or the environmental hazards, it would not have entered into the Lease with Defendant.

       72.     As a result of Defendant’s misrepresentations, SEPTA entered into a Lease which

it would not have otherwise agreed to, and has since suffered damages including, but not limited

to, destruction, damage, and loss of materials and supplies needed to carry out integral transit

operations; costs associated with remediation, emergency repairs, employee displacement,

diversion of resources; and other harm.




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       WHEREFORE, Plaintiff respectfully requests judgment in its favor against Defendant

for: (1) actual damages that Plaintiff is entitled to recover as a result of Defendant’s fraudulent

misconduct; (2) incidental and consequential damages as permitted by law; (3) interest; (4)

Plaintiff’s attorneys’ fees and costs; and (5) all such other further relief as the Court may deem just

and equitable.

                                    COUNT IV - NEGLIGENCE

       73.       Plaintiff incorporates each of the foregoing paragraphs herein as if set forth in full.

       74.       When Defendant entered into the Lease with SEPTA, it had a duty to disclose

known defects with the Building and act reasonably to prevent SEPTA from sustaining damage.

       75.       Defendant breached that duty by failing to disclose, among other things, plumbing

issues, drainage pipes, and other defects affecting the structural integrity of the Building that

Defendant knew or should have known existed.

       76.       Defendant further breached that duty by failing to disclose environmental hazards

at the Building, including the presence of asbestos and heavy metals, that Defendant knew or

should have known existed.

       77.       Defendant also breached its duty to exercise reasonable care to discover the

dangerous conditions at the Building and make those conditions safe for SEPTA.

       78.       As a direct and proximate result of these breaches of duties owed by Defendant,

SEPTA has suffered damages including, but not limited to, destruction, damage, and loss of

materials and supplies needed to carry out integral transit operations; costs associated with

remediation, emergency repairs, employee displacement, diversion of resources; and other harm.

       WHEREFORE, Plaintiff respectfully requests judgment in its favor against Defendant

for: (1) actual damages that Plaintiff is entitled to recover as a result of Defendant’s negligence;



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(2) incidental and consequential damages as permitted by law; (3) interest; (4) Plaintiff’s attorneys’

fees and costs; and (5) all such other further relief as the Court may deem just and equitable.

                        COUNT V – BREACH OF CONTRACT
                 (BREACH OF THE COVENANT OF QUIET ENJOYMENT)

       79.       Plaintiff incorporates each of the foregoing paragraphs herein as if set forth in full.

       80.       Plaintiff and Defendant entered into the Lease on or about November 12, 2019.

       81.       The Lease is a valid contract, supported by consideration, and containing material

terms regarding the parties’ rights and obligations.

       82.       Under the Lease, Defendant covenanted and agreed that “so long as Tenant pays

the Rent and observes and performs all other terms, covenants and conditions of this Lease on

Tenant’s part to be observed and performed, Tenant may peaceably and quietly enjoy the Premises

and Tenant’s possession will not be disturbed by anyone claiming by, through or under Landlord

subject, nevertheless, to the terms and conditions of this Lease.” Lease, Art. 22, “Quiet

Enjoyment.”

       83.       In addition to this express covenant of quiet enjoyment, the Lease, like all other

leases of real property in Pennsylvania, contains an implied covenant of quiet enjoyment.

       84.       Defendant has breached both the express and implied covenants of quiet enjoyment

by failing to make necessary repairs to the Building resulting in conditions that substantially alter

the essential features of the Building rendering the Building unsuitable for the purpose for which

it was leased.

       85.       As a result of Defendant’s breach of the express and implied covenants of quiet

enjoyment, SEPTA has suffered damages including, but not limited to, destruction, damage, and

loss of materials and supplies needed to carry out integral transit operations; costs associated with

remediation, emergency repairs, employee displacement, diversion of resources; and other harm.

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       WHEREFORE, Plaintiff respectfully requests judgment in its favor against Defendant

for: (1) actual damages that Plaintiff is entitled to recover as a result of Defendant’s breach of

contract; (2) incidental and consequential damages as permitted by law; (3) interest; (4) Plaintiff’s

attorneys’ fees and costs; and (5) all such other further relief as the Court may deem just and

equitable.

                        COUNT VI – BREACH OF CONTRACT
                   (BREACH OF OBLIGATION TO DO LANDLORD’S WORK)

       86.     Plaintiff incorporates each of the foregoing paragraphs herein as if set forth in full.

       87.     Plaintiff and Defendant entered into the Lease on or about November 12, 2019.

       88.     The Lease is a valid contract, supported by consideration, and containing material

terms regarding the parties’ rights and obligations.

       89.     The Lease provides that “Prior to the Commencement Date [October 31, 2019],

Landlord shall complete those items of maintenance and repair to the Premises detailed on Exhibit

B attached hereto (collectively, the ‘Landlord’s Work’), to the reasonable satisfaction of Tenant.”

Ex. 1, Lease § 3.3.

       90.     Exhibit B to the Lease, titled “Landlord’s Work”, provides that “Landlord shall

perform the following work to the Premises prior to the Commencement Date” and lists various

tasks required of Landlord. Ex. 1, Lease, Exhibit B.

       91.     For example, prior to the Commencement Date, Landlord was obligated to, among

other work, “[r]epair potholes within parking and loading areas”; “repair floor spalling and level

out cracks and heaves at expansion joints within low-bay warehouse”; “[f]inish front office area

with industrial floor paint, ceiling tiles, lighting, electrical receptacles, door locks and place HVAC

in good working order”; ensure “[o]ffice restrooms will be in good working order and cleaned,




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with lighting in good condition”; and “[r]emove all abandoned fixtures, cables and conduit per

NEC code requirements.”

         92.   Defendant was also obligated to “[p]erform the additional repair needed to the roof

as noted” in the architectural inspection report attached to the Exhibit B. See id.

         93.   Section 3.3 of the Lease, with its corresponding Exhibit B, is a material term to the

Lease.

         94.   Defendant breached Section 3.3 of the Lease by failing to perform the work

provided for under the Lease’s Exhibit B and/or by failing to perform that work properly.

         95.   As a result of Defendant’s breach of Section 3.3, SEPTA has suffered damages

including, but not limited to, destruction, damage, and loss of materials and supplies needed to

carry out integral transit operations; costs associated with remediation, emergency repairs,

employee displacement, diversion of resources; and other harm.

         WHEREFORE, Plaintiff respectfully requests judgment in its favor against Defendant

for: (1) actual damages that Plaintiff is entitled to recover as a result of Defendant’s breach of

contract; (3) incidental and consequential damages as permitted by law; (4) interest; (5) Plaintiff’s

attorneys’ fees and costs; and (6) all such other further relief as the Court may deem just and

equitable.


                  COUNT VII – BREACH OF CONTRACT
    (BREACH OF IMPLIED COVENANT OF GOOD FAITH AND FAIR DEALING)

         96.   Plaintiff incorporates each of the foregoing paragraphs herein as if set forth in full.

         97.   Defendant has breached the implied covenant of good faith and fair dealing in the

Lease.




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       98.     Defendant’s recent conduct, including, among other things, its repeated failure to

acknowledge its obligations and duties as a landlord under the Lease and make necessary repairs

which, if left unaddressed, threaten SEPTA’s transit operations, is all part of an intentional effort

to exert leverage over SEPTA and coerce SEPTA into giving up certain rights under the Lease and

bear the costs of repairing the Building for Defendant’s own ultimate benefit.

       99.     Defendant did not act fairly or in good faith when it refused to acknowledge or

make any necessary repairs at the Building described in more detail above, and such actions were

the direct and proximate cause of harm to SEPTA.

       WHEREFORE, Plaintiff respectfully requests judgment in its favor against Defendant

for: (1) actual damages that Plaintiff is entitled to recover as a result of Defendant’s breach of

contract; (2) incidental and consequential damages as permitted by law; (3) interest; (4) Plaintiff’s

attorneys’ fees and costs; and (5) all such other further relief as the Court may deem just and

equitable.

                           COUNT VIII – UNJUST ENRICHMENT

       100.    Plaintiff incorporates each of the foregoing paragraphs herein as if set forth in full.

       101.    While unlawfully refusing to make needed repairs to the Building, Defendant has

continued to reap the monetary benefits of the Lease by collecting rent despite the damage caused

to SEPTA.

       102.    Defendant has also reaped the benefits of the repairs and remediation that Plaintiff

has been required to perform to the Building, that otherwise should have been performed by

Defendant. Defendant has further reaped the benefit of the increased value to the Building because

of Plaintiff’s repairs and remediation.




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        103.    Upon information and belief, Defendant has derived profits resulting from the

Lease while avoiding its responsibilities and duties owed to SEPTA as a landlord.

        104.    By profiting from the Lease, refusing to undertake any responsibilities or duties of

a landlord owed to SEPTA, and reaping the benefits of Plaintiff’s repairs and remediations to the

Building, Defendant has retained a benefit, the retention of which would be inequitable.

        WHEREFORE, Plaintiff respectfully requests judgment in its favor against Defendant

for: (1) an accounting and disgorgement of any profits retained by Defendant as a result of

collecting rent for the Building; (2) restitution in the amount of the repairs and remediation

performed by Plaintiff and in the amount of the market value increase to the Building as a result

of Plaintiff’s repairs and remediation; (3) incidental and consequential damages as permitted by

law; (4) interest; (5) Plaintiff’s attorneys’ fees and costs; and (6) all such other further relief as the

Court may deem just and equitable.

                          COUNT IX – DECLARATORY JUDGMENT

        105.    Plaintiff incorporates each of the foregoing paragraphs herein as if set forth in full.

        106.    SEPTA and Defendant entered into the Lease on or about November 12, 2019,

which details the respective rights and obligations of the parties, including Defendant’s obligations

to make necessary repairs and SEPTA’s rights to use and enjoy the Building for which it makes

rental payments.

        107.    There is a real case and controversy between SEPTA and Defendant as to whether

Defendants is violating the Lease and engaging in other tortious conduct in its failure to make

necessary repairs to the Building.

        108.    The controversy involves substantial rights of the parties to this action.




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       109.      SEPTA seeks declaratory relief, in the form of a judicial decree that Defendant has

breached the Lease by failing to make necessary repairs.

       110.      SEPTA seeks further declaratory relief, in the form of a judicial decree that SEPTA

need not make further rental payments until Defendant makes all necessary repairs to the Building.

       111.      This declaratory judgment action, brought under the federal Declaratory Judgment

Act, 28 U.S.C. § 2201, is appropriate because there is a case of actual controversy between the

parties indicating imminent and inevitable litigation, and there is a clear manifestation that the

declaratory relief sought will be of practical help in ending the controversy.

       112.      The declaratory judgment action is also appropriate because it will address

questions concerning the performance and enforcement of the Lease and will allow SEPTA to

obtain a declaration of its rights, statuses, and legal relations under the Lease.

       113.      A judgment of this Court will serve a useful purpose in clarifying and settling the

legal relations at issue between the parties.

       114.      A judgment of this Court will determine, terminate, and afford relief from the

uncertainty and controversy giving rise to this action.

       WHEREFORE, Plaintiff respectfully requests judgment in its favor against Defendants

as follows:

       a. Declaring that pursuant to the Lease, Drummond is obligated to make all necessary

              repairs to the Building at its expense; and

       b. Awarding SEPTA damages for Drummond’s failure to make all necessary repairs to

              the Building, the costs of suit, and such other further relief as the Court deems just and

              proper.




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                                           Respectfully submitted,

                                           BLANK ROME LLP

Dated:    September 23, 2021        By:    s/ Michael A. Iannucci
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